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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF TEXAS
                          MARSHALL DIVISION


AVANT LOCATION TECHNOLOGIES
LLC,
                   Plaintiff,                  Civil Action No. 2:24-CV-0757-JRG
                                               (LEAD CASE)
     v.
                                               JURY TRIAL DEMANDED
APPLE INC.,
                         Defendant.


            DECLARATION OF JACK LESLIE IN SUPPORT OF
  DEFENDANT APPLE INC.’S MOTION TO DISMISS OR, ALTERNATIVELY, TO
        TRANSFER TO THE NORTHERN DISTRICT OF CALIFORNIA
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I, Jack Leslie, hereby declare:

       1.      I am employed by Apple Inc. (“Apple”) in Cupertino, California, where I have

worked since 2017. My current title at Apple is Supply Demand Plan Manager. Among other

responsibilities, I manage Apple’s supply chain operations with third-party retailers, including

Best Buy.

       2.      I provide this declaration in support of Apple’s motion to dismiss. Unless

otherwise indicated below, the statements in this declaration are based upon either my personal

knowledge or corporate records maintained by Apple in the ordinary course of business.

       3.      Apple does not manage the inventory at Best Buy’s stores. When Best Buy

purchases Apple products for sale in Best Buy’s stores, Apple typically ships those products to

one of Best Buy’s six regional distribution centers, which are located in California, Virginia,

Oklahoma, Ohio, New York, and Georgia. Best Buy is then responsible for allocating and

distributing that inventory to particular Best Buy stores. Apple has no role in determining how

Best Buy distributes Apple products from Best Buy’s distribution centers.

       4.      Occasionally, Best Buy will request that Apple ship products directly to a

particular Best Buy store—for example, if there is a shortage of Apple products at that store.

When Apple ships its products to a particular Best Buy store, those shipments are initiated at

Best Buy’s request. Apple does not decide what Apple products should be shipped to a particular

Best Buy store; Best Buy makes those inventory decisions for itself.

       5.      Whether shipped to Best Buy’s distribution centers or to particular Best Buy

stores, title passes to Best Buy when Apple’s products leave Apple’s warehouses. All inventory

of Apple products at Best Buy’s distribution centers or Best Buy’s stores belongs to Best Buy.




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       I declare under penalty of perjury under the laws of the United States of America that the

forgoing is true and correct.

 Date: November 1, 2024

                                                       Jack Leslie




                                                2
